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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   EXXON MOBIL CORPORATION,

        Plaintiff,

   v.                                                No. 4:24-cv-00069-P

   ARJUNA CAPITAL, LLC, ET AL.,

        Defendants.
                            FINAL JUDGMENT
        Pursuant to Federal Rule of Civil Procedure 58 and the Court’s Order
   of Dismissal (ECF No. 52), it is hereby ORDERED, ADJUDGED, and
   DECREED that the above-styled civil action is DISMISSED without
   prejudice.

        SO ORDERED on this 18th day of June 2024.
